

People v Givens (2025 NY Slip Op 02274)





People v Givens


2025 NY Slip Op 02274


Decided on April 17, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 17, 2025

Before: Manzanet-Daniels, J.P., Kennedy, González, Rosado, Michael, JJ. 


Ind No. 71253/23|Appeal No. 3799|Case No. 2023-06437|

[*1]The People of The State of New York, Respondent, 
vBrandon Givens, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Emilia King-Musza of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Elizabeth T. Schmidt of counsel), for respondent.



Judgment, Supreme Court, New York County (Gregory Carro, J.), rendered November 20, 2023, unanimously affirmed.
Although we find that defendant did not make a valid waiver of the right to appeal, we perceive no basis for reducing the sentence.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 17, 2025








